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1
                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
2                              EASTERN DIVISION
3

4

5    KI CHUL SEONG, an individual, and              CASE NO.: 18 CV 396
6
     OPEC ENGINEERING CO., LTD., a
     Korean Corporation
7

8    Plaintiffs                                     COMPLAINT FOR:
9
                  v.                                     PATENT INFRINGEMENT
10
     BEDRA, INC., an International Foreign
11
     Corporation Registered to do Business
12   in Paramus, New Jersey;
13   ALTERNATIVE MACHINE TOOLS,
     LLC., a Wisconsin Corporation; EDM             Jury Trial Demanded
14
     PERFORMANCE ACCESSORIES, a
15   California Corporation; NINGBO
     BODE HIGH-TECH CO., LTD., a
16
     Chinese Corporation; and DOES 1
17   through 10, inclusive,
18
            Defendants
19

20

21

22                                      COMPLAINT
23
           NOW COME the Plaintiffs, KI CHUL SEONG and OPEC ENGINEERING
24

25   CO., LTD. (collectively "Plaintiffs"), by and through their undersigned counsel, for
26
     their Complaint against the Defendants BEDRA, INC., a New Jersey Corporation,
27
     ALTERNATIVE MACHINE TOOLS, LLC., a Wisconsin Limited Liability
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     Company, EDM PERFORMANCE ACCESSORIES, a California Corporation,
2    NINGBO BODE HIGH-TECH CO., LTD., a Chinese Corporation, and Defendant
3
     DOES (collectively as "Defendants") allege as follows:
4

5

6
                                  NATURE OF ACTION
7

8           1.    This action concerns Defendants’ PATENT infringement and
9
     unfair competition under the patent laws of the United States of America,
10
     Title 35 of the United States Code§271, et seq. Jurisdiction is founded on
11

12   28U.S.C. §§ 1331 and 1338(a).
13

14

15                            JURISDICTION AND VENUE
16
            2.    This is an action for patent infringement, arising under the
17

18
     patent laws of the United States of America, Title 35 of the United States

19   Code. Subject matter jurisdiction is founded on 28 U.S.C. § 1331 (actions
20
     arising under the laws of the United States), 28 U.S.C. § 1332(a) (diversity
21

22   of citizenship between the parties), and § 1338(a) (actions arising under an
23
     Act of Congress relating to patents).
24

25          3.    Upon information and belief, this Court has personal
26
     jurisdiction over Defendants in that one or more of them have, directly or
27
     through agents and intermediaries, committed acts within Illinois giving rise
28




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1
     to this action and/or have established minimum contacts with Illinois such
2    that the exercise of jurisdiction would not offend traditional notions of fair
3
     play and justice.
4

5           4.    Upon information and belief, Defendants regularly conduct
6
     business in Illinois, and have purposefully availed themselves of the
7

8    privileges of conducting business in Illinois. In particular, upon information
9
     and belief, Defendants, directly and/or through their agents and/or
10
     intermediaries, make, use, import, offer for sale, sell, distribute and/or
11

12   advertise their products and affiliated services in Illinois.
13
            5.    Upon information and belief, Defendants have committed
14

15   patent infringement in Illinois that has led to foreseeable harm and injury to
16
     Plaintiffs. Upon information and belief, Defendants derive substantial
17

18
     revenue from the sale of infringing products distributed within Illinois

19   and/or expect or should reasonably expect its actions to have consequences
20
     within Illinois. In addition, upon information and belief, Defendants
21

22   knowingly induced, and continue to knowingly induce, infringement within
23
     Illinois by offering for sale, selling, and/or contracting to or with others
24

25   infringing products with the knowledge and intent to facilitate infringing use
26
     of the products by others within Illinois and by creating, importing,
27
     distributing and/or selling product information and other materials providing
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1
     instruction for infringing use.
2           6.    Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and
3
     (c), and 28 U.S.C. § 1400(b) for all Defendants.
4

5

6
                                            PARTIES
7

8           7.    Plaintiff KI CHUL SEONG(“SEONG”) is an individual
9
     residing in Korea.
10
            8.    Plaintiff OPEC ENGINEERING CO., LTD (“OPEC”) is a
11

12   corporation duly organized and existing under the laws of Korea, with its
13
     principal place of business in Korea.
14

15          9.    Upon information and belief, at all times relevant, Defendant
16
     BEDRA, INC. (“BEDRA”) is an international foreign corporation registered
17

18
     to do business in Paramus, New Jersey with a distribution/sales warehouse

19   located in the greater Chicago area.
20
            10.   Upon information and belief, at all times relevant, Defendant
21

22   ALTERNATIVE MACHINE TOOLS, LLC. (“ALTERNATIVE”) is a
23
     Limited Liability Company duly organized and existing under the laws of
24

25   Wisconsin, with its principal place of business in Dousman, Wisconsin,
26
     within a 100-mile radius from Chicago, Illinois; and, upon information and
27
     belief, Defendant ALTERNATIVE sells its infringing products in Illinois.
28




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1
            11.   Upon information and belief, at all times relevant, Defendant
2    EDM PERFORMANCE ACCESSORIES (“EDM”) is a Corporation duly
3
     organized and existing under the laws of California, with its principal place
4

5    of business in Brea, California; and, upon information and belief, Defendant
6
     EDM sells its infringing products in Illinois.
7

8           12.   Upon information and belief, at all times relevant, Defendant
9
     NINGBO BODE HIGH-TECH CO., LTD. (“NINGBO”) is a Corporation
10
     duly organized and existing under the laws of China, with its principal place
11

12   of business in Ningbo, China; and, upon information and belief, Defendant
13
     NINGBO sells its infringing products in Illinois through one or more of
14

15   Defendants BEDRA, ALTERNATIVE and EDM.
16

17

18
                                FACTUAL BACKGROUND

19          13.   Plaintiff SEONG is the inventor and the owner of U.S. Patent
20
     No. 6,306,523, U.S. Patent No. 6,482,535, U.S. Patent No. 6,492,036, and
21

22   U.S. Patent No. 8,822,872 (collectively referred to as "SEONG Patents;"
23
     attached hereto as Exhibits A, B, C, D, respectively) related to electrode
24

25   wires for use in electrical discharge machining.
26
            14.   On August 16, 2017, United States Patent and Trademark
27
     Office, before the Patent Trial and Appeal Board, claims 1, 3, 4, 6 and 9 of
28




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1
     the U.S. Patent No. 6,492,036 were invalidated, and therefore only claims 2,
2    5, 7, 8 and 10 of the U.S. Patent No. 6,492,036 (“ ’036 patent”), which were
3
     validated in the same PTAB proceeding, are alleged to be infringed in this
4

5    complaint. See Case No. IPR2016-00764 (“’764 proceeding”) before the
6
     U.S. Patent Trial and Appeal Board (“PTAB”). The final decision in Case
7

8    No. IPR2016-00764 concerning the ‘036 patent is attached herewith as
9
     Exhibit E. All of the claims in the two other SEONG patents identified
10
     above were validated in two other PTAB proceedings consolidated with the
11

12   ‘764 proceeding.
13
            15.   Plaintiff SEONG has licensed the SEONG Patents to Plaintiff
14

15   OPEC, and Plaintiff OPEC manufactures, distributes and sells electrode
16
     wire according to the SEONG Patents for use in electrical discharge
17

18
     machining, a process used to shape hard materials such as steel.

19          16.   Plaintiff SEONG has not licensed the SEONG Patents to any
20
     entity other than Plaintiff OPEC.
21

22          17.   Plaintiffs, collectively, possess all rights conferred in the
23
     SEONG Patents within a field that includes the manufacturing, using,
24

25   distributing, selling and offering the sale of (1) electrode wire for use in
26
     electrical discharge machining, and (2) a certain method of manufacturing
27
     such electrode wire.
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1

2                                           Count I
3
              FEDERAL PATENT INFRINGEMENT, TITLE 35 U.S.C. §271.
4
                        (AGAINST ALL DEFENDANTS)
5

6
            18.   Plaintiffs incorporate paragraphs 1 through 17 herein by

7    reference and further allege as follows:
8
            19.   Upon information and belief, each of Defendants, including
9

10   each of DOE Defendants, makes, uses, advertises, imports, offers for sale,
11
     and/or sells electrode wires for use in electrical discharge machining,
12

13   including but not limited to, one or more samples of infringing wires as
14
     shown in Exhibit F, that directly infringe one or more claims of the SEONG
15
     Patents within Illinois and within this Judicial District.
16

17          20.   A part of relevant test data of the infringing wires shown in
18
     Exhibit F are shown in Exhibit G.
19

20          21.   Upon information and belief, at all times relevant, each of
21
     Defendants, including each of DOE Defendants, has both constructive and
22

23
     actual notice of each of the SEONG Patents.

24          22.   Upon information and belief, at all times relevant, each of
25
     Defendants, including each of DOE Defendants, was aware of each of the
26

27   SEONG Patents.
28
            23.   Upon information and belief, at all times relevant, even after


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1
     actual notice, each of the Defendants, including each of the DOE
2    Defendants, continued to import, use, advertise, offer for sale, or sell for
3
     subsequent sale in the United States, including within Illinois and this
4

5    Judicial District, the infringing electrode wires that directly infringe one or
6
     more claims of the SEONG Patents.
7

8           24.   Upon information and belief, at all times relevant, even after
9
     full knowledge of SEONG Patents, each of the Defendants, including each
10
     of the DOE Defendants, continued to import, use, advertise, offer for sale,
11

12   or sell for subsequent sale in the United States, including within Illinois and
13
     this Judicial District, the infringing electrode wires that directly infringe one
14

15   or more claims of SEONG Patents.
16
            25.   Upon information and belief, at all times relevant, the electrode
17

18
     wires imported, used, advertised, offered for sale, or sold for subsequent

19   sale by each of the Defendants, including each of the DOE Defendants,
20
     compete directly with Plaintiffs' product made according to the SEONG
21

22   Patents.
23
            26.   Upon information and belief, at all times relevant, each of
24

25   Defendants, including each of the DOE Defendants, actively target
26
     customers of Plaintiffs with the intent to induce and contribute to the
27
     infringement of at least one claim of the SEONG Patents.
28




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1
            27.   As a result of inducement and contributory infringement of at
2    least one claim of the SEONG Patents by each of the Defendants, including
3
     each of the DOE Defendants and each of their respective distributors and
4

5    customers directly infringe at least one claim of the SEONG Patents.
6
            28.   As a result of inducement and contributory infringement of at
7

8    least one claim of each of the SEONG Patents by each of the Defendants,
9
     including each of the DOE Defendants, machinists use the infringing wires
10
     to directly infringe at least one claim of each of the SEONG Patents.
11

12          29.   As a consequence of acts of infringement of one or more
13
     claims of SEONG Patents by each of Defendants, including each of the
14

15   DOE Defendants, as set forth above, Plaintiffs have been damaged, and will
16
     continue to be damaged unless Defendants pay damages and the
17

18
     Defendants’ acts of infringement are enjoined by the Court.

19

20
                                  PRAYER FOR RELIEF
21

22          WHEREFORE, Plaintiffs respectfully request that:
23

24                A. Each of the Defendants, including each of the DOE Defendants,

25
      be declared and adjudged to have directly infringed, engaged in the contributory
26

27
      infringement of, and actively induced others to infringe one or more of the claims

28    of each of the SEONG Patents, and therefore one or more of the SEONG Patents;


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1
                    B. Infringement, contributory infringement, and active inducement

2      of infringement of at least one or more of the claims of the SEONG Patents, and
3
       therefore one or more of the SEONG Patents, by each of the Defendants,
4

5      including each of the DOE Defendants, be declared and adjudged to be willful
6
       and deliberate;
7

8                   C. Each of the Defendants, including each of the DOE Defendants,

9
       and any of its officers, directors, agents, servants, employees, successors,
10

11
       assigns, and all those controlled by them or in active participation with them,

12     be preliminarily and permanently enjoined from further acts of infringement of
13
       at least one or more of the claims of the SEONG Patents, and therefore one or
14

15     more the SEONG Patents;
16
                    D. Each of Defendants, including each of DOE Defendants, be
17

18
       required to account for and pay over to Plaintiffs all actual damages suffered
19
       by Plaintiffs by reason of the respective Defendant’s infringement, including
20
       without limitation lost profits and/or a reasonable royalty;
21

22                  E. By reason of the willful and deliberate nature of the aforesaid
23
       infringing acts, such damages be trebled pursuant to 35 U.S.C. § 284;
24

25                  F. By reason of the exceptional nature of this case within the

26
       meaning of 35 U.S.C. § 285, Plaintiffs be awarded their attorneys’ fees;
27

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1
                    G. Each of Defendants be ordered to pay to Plaintiffs’

2      prejudgment and post judgment interest, and costs; and
3
                    H. This Court grants Plaintiffs such other further legal and equitable
4

5      relief as the Court deems just and proper.
6

7

8                              DEMAND FOR TRIAL BY JURY
9

10            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
11
       request a trial by jury in this matter.
12

13

14    Dated: January 18, 2018                    Respectfully submitted,
15
                                                 KI CHUL SEONG, an individual, and
16
                                                 OPEC ENGINEERING CO., LTD.,
17                                               a Korean Corporation
18
                                                 Attorneys for Plaintiffs
19

20
                                                 /s/ John K. Park
21                                               John K Park, CA Bar #175212
22
                                                 Motion to Appear Pro Hac Vice Pending
                                                 Park Law Firm
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27

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